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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,

                Plaintiff,

 vs.                                                                        No. CR-03-2112 MV

 JORGE TORRES-LARANEGA, et al.,

                Defendants.

                             MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant Martin Mendivil’s Motion to Dismiss

Indictment Due to Prior Dismissal with Prejudice and/or Speedy Trial Violations or in the Alternative

to Enter an Order in Limine Prohibiting the Government from Introducing Evidence of the May 17

or 18, 2003 Seizure of Drugs from Defendant (“Motion to Dismiss Indictment”) [Doc. No. 295], filed

September 14, 2004, and Defendant Jose Francisco Diaz’s Notice of Joinder [Doc. No. 323], filed

October 5, 2004. The Court, having considered the motions, briefs, relevant law and being otherwise

fully informed, finds that Mendivil’s Motion to Dismiss Indictment is not well taken and will be

DENIED.

                                        BACKGROUND

       On May 18, 2003, Defendant Martin Mendivil was stopped at the Las Cruces Border Patrol

checkpoint. During a search of his truck during the stop, agents found 3,400 pounds of marijuana.

As a result, also on May 18, 2003, Mendivil was arrested and charged by criminal complaint with

violating 21 U.S.C. §841(a)(1) and 841(b)(1)(A), possession with intent to distribute 1,000 kilograms

and more of marijuana. On August 6, 2003, Mendivil was indicted for the same charge.
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       On September 9, 2003, Mendivil filed a motion to suppress the evidence discovered during

the search of his truck. Before the Court held a hearing on the motion, on October 22, 2003, the

government filed a motion to dismiss with prejudice the August 6, 2003 indictment. In support of

its motion, the government explained that:

       subsequent to the indictment returned August 6, 2003, the United States has
       conducted additional investigation, learned additional facts, and reached certain legal
       conclusions which cause it to conclude that – even if it is subsequently barred from
       reinstating the present charge against the Defendant – it is in the interests of the
       Executive Branch not to proceed with the suppression hearing in this case.

Government’s Motion to Dismiss Indictment with Prejudice at 2-3. The motion also contained a

footnote that stated:

       The request that a dismissal be with prejudice comports with the primary rationale for
       Rule 48(a)’s “leave of court” requirement to protect defendants from the filing,
       dismissal, and refiling of the same charges and provides a reasoned basis for the Court
       to grant the present motion. However, should the Court determine that it requires
       additional information to go beyond the issue of protection of the Defendant to
       consider “public interest, fair administration of criminal justice and preservation of
       judicial integrity,” the United States is prepared to file a more detailed statement of
       its reasons. United States v. Strayer, 846 F.2d 1262, 1265 (10th Cir. 1988) (Rule
       48(a) also intended to allow courts to consider these factors).

Government’s Motion to Dismiss Indictment with Prejudice at 3 n.1. On October 23, 2003, an order

by United States District Judge Brack was entered dismissing the indictment with prejudice.

       Also on October 23, 2003, the grand jury returned an indictment charging nine individuals

with violation of 21 U.S.C. §846, conspiracy to possess with intent to distribute 1,000 kilograms of

marijuana. On December 18, 2003, the grand jury returned a superseding indictment. On February

19, 2004, the grand jury returned a second superseding indictment, in which Mendivil was charged

for the first time with violation of 21 U.S.C. §846, conspiracy. The Fourth Superseding Indictment

charges only co-defendants Jorge Torres-Laranega and Edgar Lopez-Hernandez with violation of 21


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U.S.C. §841(a)(1), possession of 1,000 kilograms and more of marijuana, for the events surrounding

the seizure made during the stop of Mendivil on May 18, 2003.

       On September 14, 2004, Mendivil filed the instant motion. The government’s reply followed

on September 22, 2004. The Court held an evidentiary hearing on October 5 and October 6, 2004.

At the conclusion of the hearing, the Court took the motion under advisement.

                                          DISCUSSION

       Mendivil argues that, although the instant action does not specifically reallege the May 18,

2003 charges in any of the four indictments, the government will present evidence that includes the

May 18, 2003 charges within the context of a broader conspiracy from June 2002 to November 19,

2003. In addition, Mendivil argues that the government intends to use evidence of the May 18, 2003

incident in its case-in-chief against Mendivil. Mendivil contends that the presentation to the grand

jury of evidence of conduct for which charges have been dismissed with prejudice is improper and

cannot be the basis for a new indictment for what essentially is the same conduct, even if couched in

terms of conspiracy of possession with intent to distribute rather than possession with intent to

distribute. According to Mendivil, charging him with conspiracy in the instant case based in part on

the overt act for which he was charged in the previously dismissed indictment violates the Double

Jeopardy Clause. Also according to Mendivil, the fact that he was indicted in the instant case more

than seventy days after the indictment in the possession case was dismissed violates the Speedy Trial

Act. Finally, Mendivil argues that the government’s motion to dismiss the original indictment was

made in bad faith and thus in violation of Rule 48(a) of the Federal Rules of Criminal Procedure. As

set forth herein, the Court disagrees with each of Mendivil’s arguments.




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I.     Double Jeopardy

       The Double Jeopardy Clause provides: “[N]or shall any person be subject for the same offense

to be twice put in jeopardy of life or limb.” The Supreme Court has held that conspiracy to commit

an offense and the offense itself “are separate offenses for double jeopardy purposes.” United States

v. Felix, 503 U.S. 378, 390-91 (1992). In Felix, the Supreme Court held that “prosecution of a

defendant for conspiracy, where certain of the overt acts relied upon by the Government are based

on substantive offenses for which the defendant has been previously convicted, does not violate the

Double Jeopardy Clause.” Id. at 380-81; see also Pinkerton v. United States, 328 U.S. 640, 643

(“[T]he commission of the substantive offense and a conspiracy to commit it are separate and distinct

offenses . . . [a]nd the plea of double jeopardy is no defense to a conviction for both offenses.”). In

Harvey v. Shillinger, 76 F.3d 1528 (10th Cir. 1996), cert. denied, 519 U.S. 901 (1996), the Tenth

Circuit applied Felix to hold that prosecuting the defendant for conspiracy to commit kidnapping after

the Wyoming Supreme Court vacated his convictions for kidnapping and sexual assault did not

violate his right to be protected from double jeopardy. See id. at 1533.

       In the indictment dismissed on October 23, 2003, Mendivil was charged with the substantive

offense of possession with intent to distribute marijuana. In the Fourth Superseding Indictment

returned in the instant case on August 19, 2004, Mendivil is charged with conspiracy to possess with

intent to distribute marijuana. Thus, for double jeopardy purposes, Mendivil is charged in the instant

case with a separate offense from that which was charged in the previously dismissed indictment.

Under the relevant case law, the current prosecution of Mendivil for conspiracy, even though one of

the overt acts relied upon by the government is based on the substantive offense for which Mendivil

was charged in the previously dismissed indictment, does not violate the Double Jeopardy Clause.


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II.     Speedy Trial

        The Sixth Amendment provides that “[i]n all criminal prosecutions, the accused shall enjoy

the right to a speedy and public trial . . .” The right to a speedy trial “attaches only when a formal

criminal charge is instituted and a criminal prosecution begins.” United States v. MacDonald, 456

U.S. 1, 6 (1982). “Once charges are dismissed, the speedy trial guarantee is no longer applicable.

At that point, the formerly accused is, at most, in the same position as any other subject of a criminal

investigation.” Id. at 8-9.

        In Harvey, the defendant contended that he was denied his Sixth Amendment right to a speedy

trial by the delay between his original arrest on the substantive kidnapping offense on January 5,

1986, and his second trial on the charge of conspiracy to commit kidnapping on January 8, 1990. The

Tenth Circuit held:

        Because Harvey’s original convictions were vacated and conspiracy to commit
        kidnapping is a separate offense, the speedy trial clock for Harvey’s second trial did
        not start to run until the first filing relating to the conspiracy charge. Thus, the
        relevant time period is from the filing of the indictment on the conspiracy charge on
        July 7, 1989, until the date of the conspiracy trial on January 8, 1990.

Harvey, 76 F.3d at 1534.

        The case law makes clear that Mendivil’s right to a speedy trial in the instant action did not

attach until he was charged in the instant action on February 19, 2004. Similarly, his right to a speedy

trial in the action for possession was no longer applicable once the indictment in that prosecution was

dismissed on October 23, 2003. The relevant time period is not from dismissal of the indictment

charging Mendivil with possession but rather from the filing of the instant indictment charging

Mendivil with conspiracy. Accordingly, Mendivil’s argument that his speedy trial right was violated




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due to the delay between the dismissal of the indictment in the possession case and the filing of the

indictment in the instant conspiracy case must fail.

III.    Rule 48(a)

        Rule 48(a) of the Federal Rules of Criminal Procedure requires the government to obtain leave

of the court before filing a dismissal of an indictment. Specifically, Rule 48(a) provides:

        The Attorney General or the United States attorney may by leave of court file a
        dismissal of an indictment, information or complaint and the prosecution shall
        thereupon terminate. Such a dismissal may not be filed during the trial without the
        consent of the defendant.

        The Supreme Court has explained that the “principal object of the ‘leave of court’requirement

is apparently to protect a defendant against prosecutorial harassment, e.g., charging, dismissing, and

recharging, when the Government moves to dismiss an indictment over the defendant’s objection.”

Rinaldi v. United States, 434 U.S. 22, 30 n.15 (1977). Rule 48(a) also allows the court “to consider

the public interest in the fair administration of criminal justice and the need to preserve the integrity

of the courts.” United States v. Carrigan, 778 F.2d 1454, 1463 (10th Cir. 1985); see also United

States v. Strayer, 846 F.2d 1262, 1265 (10th Cir. 1988).

        In determining whether prosecutorial harassment exists, the key factor is “the propriety or

impropriety of the Government’s efforts to terminate the prosecution – the good faith or lack of good

faith of the Government in moving to dismiss.” United States v. Salinas, 693 F.2d 348, 351 (5th Cir.

1982). In other words, the government “must not be motivated by considerations ‘clearly contrary

to the public interest.’” Id. Motions to dismiss that are motivated by considerations clearly contrary

to the public interest have been described as those “in which the prosecutor appears motivated by

bribery, animus towards the victim [of the alleged crime], or a desire to attend a social event rather



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than trial.” In re Richards, 213 F.3d 773, 787 (3rd Cir. 2000) (citing United States v. Hamm, 659

F.2d 624, 630 (5th Cir. 1981)).

       The court is “vested only with limited supervisory power over prosecutorial charging

decisions specifically under Rule 48(a).” United States v. Robertson, 45 F.3d 1423, 1437 n.14 (10th

Cir. 1995), cert. denied, 516 U.S. 844 (1995). Courts of appeal are in agreement that “refusal to

dismiss is appropriate only in the rarest of cases.” In re Richards, 213 F.3d at 786. Rule 48(a) is

intended to provide a check on the absolute power of the executive branch which nonetheless

“remains the absolute judge of whether a prosecution should be initiated and the first and

presumptively the best judge of whether a pending prosecution should be terminated.” United States

v. Cowan, 524 F.2d 504, 513 (5th Cir. 1975), cert. denied sub nom., Woodruff v. United States, 425

U.S. 971 (1976). Accordingly, the government’s discretion “with respect to the termination of

pending prosecutions should not be judicially disturbed unless clearly contrary to manifest public

interest.” Id. The Tenth Circuit has adopted this rule, holding that the court is “generally required

to grant a prosecutor’s Rule 48(a) motion to dismiss unless dismissal is ‘clearly contrary to manifest

public interest.’” Carrigan, 778 F.2d at 1463 (citation omitted); see also Strayer, 846 F.2d at 1265.

       In reviewing the government’s motion to dismiss, the court must begin with the presumption

that the prosecutor is the best judge of the public interest and that he or she acted in good faith in

moving to dismiss the indictment. See Salinas, 693 F.2d at 352. This presumption is rebutted upon

an evidentiary showing that the motion is not made in good faith. Id. The government does not bear

the burden of proving that dismissal is in the public interest. Id. The government, however, is

obligated to provide its “reasons for seeking to dismiss the indictment and the facts underlying the

prosecutor’s decision.” United States v. Derr, 726 F.2d 617, 619 (10th Cir. 1984).               The


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government’s reasons must “constitute more than ‘a mere conclusory interest.’” Salinas, 693 F.2d

at 352. Based upon the government’s statement of reasons and the defendant’s response, “the court

should determine whether the presumption of good faith is overcome by ‘an affirmative reason to

believe that the dismissal motion was motivated by considerations contrary to the public interest.’”

United States v. Welborn, 849 F.2d 980, 984 (5th Cir. 1988) (citation omitted).

        In the instant case, Mendivil argues that the government acted in bad faith by moving to

dismiss with prejudice the indictment in the original action while simultaneously seeking an indictment

in the instant action based on the very same offense conduct. Mendivil notes that, not only did the

government fail to disclose the fact that it was seeking another indictment but also went so far as to

include a footnote in its motion stating that dismissal would comport with Rule 48(a)’s requirements

that the defendant be protected against prosecutorial harassment and that dismissal would further the

public interest, the fair administration of justice and the integrity of the courts. Mendivil argues that,

given the circumstances, this footnote rises to the level of prosecutorial misconduct. According to

Mendivil, it was improper for the government to hold him in custody without bail from May 18, 2003

until October 23, 2003, release him for purely strategic purposes and then reindict him on February

19, 2004, at which time, in reliance on the fact that the original indictment had been dismissed with

prejudice, he had lived for four months believing that his liberty was no longer at stake. Mendivil

concludes that the government’s conduct was not only unfair to him but also compromised the

integrity of the judicial system.

        The government argues that it acted in good faith in moving to dismiss the original indictment.

Specifically, the government states that it decided to dismiss the action against Mendivil because of

concerns that proceeding with that action and, more specifically, litigating the motion to suppress,


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would have required the government to reveal the identity of the confidential informant and disclose

the ongoing investigation. This, the government argues, would have compromised the investigation

and endangered the safety of the confidential informant. The government also explains that it did not

give any explanation for its motion to dismiss with prejudice because it believed that putting Mendivil

on notice of the indictment on the conspiracy charge effectively would have put all of the members

of the alleged Torres organization on notice of the investigation, thereby compromising the

investigation and perhaps making it impossible to apprehend any of these individuals. In part, the

government’s concern was based on the fact that several of the alleged coconspirators had already

fled to Mexico in an effort to avoid apprehension after the government seized marijuana that they

were transporting in August and September, 2003. Moreover, the government explains that it was

concerned about putting these individuals on notice even though an indictment against them had

already been returned because that indictment was sealed. In fact, the indictment remained sealed

until the defendants were apprehended on November 19, 2003. Accordingly, the government argues,

it included the footnote in its motion as a means of representing to the Court that it was moving to

dismiss for appropriate reasons and that those reasons could be explained if necessary, while still

protecting its investigation and the sealed indictment.

       The Court recognizes that, from a practical standpoint, there is no difference between being

charged with possession, as Mendivil was in the original indictment, and being charged with

conspiracy, as Medivil is in the instant case. Moreover, the Court is sympathetic to the fact that,

when Mendivil was released from custody and informed that the charges against him had been

dismissed with prejudice, he was given absolutely no notice that he might be charged with conspiracy

and that conspiracy is punishable with the same term of imprisonment as is possession. Finally, while


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it appeared that the government was surrendering its cause in moving to dismiss, the government in

fact gave up nothing, as it retained both the power to bring a conspiracy charge against Mendivil and

to continue its investigation undiscovered.

       Nonetheless, the government’s stated reasons constitute more than a mere conclusory

interest. Mendivil has not made an evidentiary showing sufficient to rebut the presumption that the

government’s motion was made in good faith. Accordingly, the Court finds that the presumption of

good faith is not overcome by an affirmative reason to believe that the dismissal motion was

motivated by considerations contrary to the public interest.

                                         CONCLUSION

       First, the instant prosecution of Mendivil for conspiracy, even though one of the overt acts

relied upon by the government is based on the substantive offense for which Mendivil was charged

in the previously dismissed indictment, does not violate the Double Jeopardy Clause. In addition,

Mendivil’s Sixth Amendment right to a speedy trial was not violated due to the delay between the

dismissal of the indictment in the possession case and the filing of the indictment in the instant

conspiracy case. Finally, Mendivil has failed to rebut the presumption that the government dismissed

the previous indictment in good faith.




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         IT IS THEREFORE ORDERED that Defendant Martin Mendivil’s Motion to Dismiss

Indictment [Doc. No. 295] is hereby DENIED.

         Dated this 30th day of November, 2004.




                                               MARTHA VÁZQUEZ
                                               CHIEF UNITED STATES DISTRICT JUDGE


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